(1 of 27), Page 1 of 27       Case: 24-3188, 04/11/2025, DktEntry: 261 .1, Page 1 of 27




                                         Nos. 24-3188, 24-3559, 24-4029


                             IN THE UNITED STATES COURT OF APPEALS
                                     FOR THE NINTH CIRCUIT


                                           M1 FAMILIA VOTA, et al. 9

                                                                      PlaintQ§"s-Appellees,

                                                         v.
                                            ADRIAN FONTES, et al.,

                                                                     Defendants-Appellees,
                                                        and

                                          WARREN PETERSEN, et al. 9

                                                                 Intervenor-Defendants-Appellants.



                  On Appeal from the United States District Court for the District of Arizona
                                          Hon. Susan R. Bolton
                                      Case No. 2:22-cv-00509-SRB


                          INTERVENORS' PETITION FOR REHEARING EN BANC


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(2 of 27), Page 2 of 27          Case: 24-3188, 04/11/2025, DktEntry: 261 .1, Page 2 of 27




                                                     TABLE OF CONTENTS

             TABLE OF AUTHORITIES .................................................................................... ii

             RULE 40 STATEMENT...........................................................................................1

             BACKGROUND .......................................................................................................2

                   A. Arizona adopts proof-of-citizenship laws to safeguard elections. ..............2

                   B. Opponents sue over amendments to Arizona's proof-of-citizenship 1aws..3

                  c.      The panel, over Judge Bumatay's dissent, affirms the injunction of
                          Arizona's proof-of-citizenship laws............................................................4

             REASONS FOR GRANTING THE PETITION ......................................................5

                   I. The panel's holding that the NVRA preempts Arizona's mail voting rules
                       conflicts with Supreme Court and Ninth Circuit precedent. ....................... 6

                   II. The panel's holding that the NVRA applies to presidential elections
                        conflicts with Supreme Court precedent. .................................................... 8

                   III. The panel's holding that the NVRA's 90-day provision applies to non-
                        citizens conflicts with Sixth Circuit precedent..........................................10

                   IV. Neither the LULAC Decree nor the NVRA precludes Arizona from
                       rejecting state forms lacking proof-of-citizenship or proof-of-residence. 11

                   V. The panel violated Supreme Court precedent by reweighing evidence
                       to find discriminatory intent......................................................................14

             CONCLUSION .......................................................................................................19

             CERTIFICATE OF COMPLIANCE ....................................................................C-1

             CERTIFICATE OF SERVICE..............................................................................C-2




                                                                      i
(3 of 27), Page 3 of 27          Case: 24-3188, 04/11/2025, DktEntry: 261 .1, Page 3 of 27




                                                   TABLE OF AUTHORITIES

             Cases

             Abbott v. Perez,
               585 U.S. 579 (2018).......................................................................................15, 17

             Arizona v. Inter-Tribal Council of Ariz. (ITCA),
               570 U.S. 1 (2013) ..........................................................................................passim

             Arlington Heights v. Metro. Housing Dev. Corp. ,
               429 U.S. 252 (1977).................................................................................14, 18, 19

             Beals v. VA Coal. for Immigrant Rts.,
                . S.Ct. _9 2024 WL 4608863 (Oct. 30, 2024) ..................................................10

             Bell v. Marinko,
               367 F.3d 588 (6th Cir. 2004) ........................................................................... 1, 10

             Brnovich v. DNC,
               594 U.S. 647 (2021)......................................................................................passim

             Burroughs v. United States,
               290 U.S. 534 (1934)............................................................................................... 9

             CASA de Md., Inc. v. Trump,
              971 F.3d 220 (4th Cir. 2020) ...............................................................................11

             Earp v. Davis,
               881 F.3d 1135 (9th Cir. 2018) .............................................................................16

             Gonzalez v. Arizona,
              485 F.3d 1041 (9th Cir. 2007) .....................................................................1, 7, 13

             Horne v. Flores,
              557 U.S. 433 (2009)............................................................................................. 12

             McPherson v. Blacker,
              146 U.S. 1 (1892)...............................................................................................3, 8

             Mi Far ilia Voter v. Fortes,
              111 F.4th 976 (9th Cir. 2024) ........................................................................ 1, 3, 7



                                                                      ii
(4 of 27), Page 4 of 27           Case: 24-3188, 04/11/2025, DktEntry: 261 .1, Page 4 of 27




             Miller v. French,
                530 U.S. 327 (2000).............................................................................................12

             Oregon v. Mitchell,
                400 U.S. 112 (1970)............................................................................................... 8

             Pierce v. N.C. State 8d. of Eleetion5,
               97 F.4th 194 (4th Cir. 2024) ................................................................................16

             Purcell v. Gonzalez,
                549 U.S. 1 (2006)...............................................................................................1, 2

             RNC v. Mi Far ilia Voter,
              145 S. Ct. 108 (2024) .....................................................................................11, 14

             Smiley v. Holm,
                285 U.S. 355 (1932)............................................................................................... 9

             Taylor v. United States,
                181 F.3d 1017 (9th Cir. 1999) .......................................................................11, 12

             United States v. Carrillo-Lopez,
                68 F.4th 1133 (9th Cir. 2023) ........................................................................15, 19

             United States v. Sanchez-Garcia,
              98 F.4th 90 (4th Cir. 2024) ..................................................................................16

             Statutes

             52 U.S.C. §20508 ....................................................................................................14

             52 U.S.C. §20505 ....................................................................................................14

             52 U.S.C. §20506 ....................................................................................................14

             Fed. R. App. P. 40 .....................................................................................................5

             Fed. R. Civ. p. 60 ....................................................................................................12

             A.R.S. §16-121.01............................................................................................... 3, 11

             A.R.S. §16-123 ........................................................................................................11

             A.R.S. §16-127 ......................................................................................................3, 7


                                                                        iii
(5 of 27), Page 5 of 27          Case: 24-3188, 04/11/2025, DktEntry: 261 .1, Page 5 of 27




             A.R.S. §16-165 ..........................................................................................................3

             Other Authorities
             Exec. Order 14248, 90 Fed. Reg. 14007 (Mar. 25, 2025) .........................................2

             Constitutional Provisions
             U.S. Const., Art. II, §1............................................................................................... 8

             Ariz. Const., Art. VII, §2...........................................................................................2




                                                                        iv
(6 of 27), Page 6 of 27     Case: 24-3188, 04/11/2025, DktEntry: 261 .1, Page 6 of 27




                                           RULE 40 STATEMENT

                    This case "is of grave concern to the public." Op.32 n.3. At issue is Arizona's

             authority to require proof-of-citizenship to access the ballot. This matter of

             exceptional importance warrants "careful consideration" by every judge as it affects

             the right of "honest citizens" to vote and implicates Arizona's "compelling interest"

             in election integrity. Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (cleaned up),

                    This "Circuit has in fact already resolved this question under similar

             circumstances" and it "could not have been clearer." Mi Far ilia Voter (MFV) v.

              Fortes, 111 F.4th 976, 991 (9th Cir. 2024) (Bumatay, J., dissenting). Federal law

             "conditions eligibility to vote on United States citizenship" and it "plainly allow[s]

             states" to "require their citizens to present evidence of citizenship." Gonzalez v.

             Arizona, 485 F.3d 1041, 1050-51 (9th Cir. 2007). The Supreme Court has said as

             much. Arizona v. Inter-Tribal Council of Ariz. (ITCA), 570 U.S. 1, 12, 17-18 (2013).

             So has the Sixth Circuit. See Bell v. Marinko, 367 F.3d 588, 591-92 (6th Cir. 2004).

                    The divided panel issued an "[u]nprecedented" decision "completely

             invalidat[ing]" Arizona's proof-of-citizenship laws. Dissent.82. Their opinion

             conflicts with "Gonzalez," "contradict[s] ITCA" and other Supreme Court precedent,

             and splits with "the Sixth Circuit." Dissent.88, 115, 129. It also disregards the

             Supreme Court's directive of deference to trial court findings concerning legislative

             intent. Brnovieh v. DNC, 594 U.S. 647, 655 (2021). It is ripe for en bane review.



                                                       1
(7 of 27), Page 7 of 27     Case: 24-3188, 04/11/2025, DktEntry: 261 .1, Page 7 of 27




                                               BACKGROUND

              A.    Arizona adopts proof-of-citizenship laws to safeguard elections.

                    Arizona has had a citizenship requirement for voting since it became a State

             in 1912. Ariz. Const., Art. VII, §2. It was Arizona's "voters" who first "adopted" the

             State's requirement that applicants for voter registration produce "satisfactory

             evidence of citizenship" through "a ballot initiative designed in part 'to combat voter

             fraud." ITCA, 570 U.S. at 6 (cleaned up). A year after the people of Arizona

             approved Arizona's proof-of-citizenship requirement, those "procedures" were

             "precleared under §5 of the Voting Rights Act of 1965." Id. at 6 n.2.

                    When Arizona's proof-of-citizenship requirement was later challenged and

             appealed to this Court, the case was deemed of exceptional importance warranting

             en bane review. Id. at 7. Indeed, before this Court first reviewed Arizona's proof-of-

             citizenship requirement en bane, the Supreme Court itself intervened to vacate a

             Ninth Circuit panel's injunction of Arizona's law. Purcell, 549 U.S. at 2-3. Then,

             after this Court engaged in en bane review, the Supreme Court granted certiorari.

             ITCA, 570 U.S. at 7.

                    The Supreme Court reasoned that while Congress can require Arizona to

             "accept and use" a Federal Form for voter registration for "congressional elections,"

             id. at 15, "state-developed forms may require information the Federal Form does

             not," including "proof-of-citizenship," id. at 12. It observed: "Arizona is correct that



                                                        2
(8 of 27), Page 8 of 27     Case: 24-3188, 04/11/2025, DktEntry: 261 .1, Page 8 of 27




             it would raise serious constitutional doubts if a federal statute precluded a State from

             obtaining the information necessary to enforce its voter qualifications," such as

             "citizenship." Id. at 16-17.

              B.    Opponents sue over amendments to Arizona's proof-of-citizenship laws.
                                                                                                   97
                    Arizona "has done exactly what the Court recognized as possible in ITCA.

             MFV, 111 F.4th at 991 (Bumatay, J., dissenting). In 2022, it "added a requirement

             to its own [voter registration] form to ensure its ability to verify citizenship." Id.

             (discussing A.R.S. §16-121.()1(C)). Arizona's Legislature also exercised its

             "plenary" authority to regulate presidential elections, McPherson v. Blacker, 146

             U.S. 1, 10 (1892), by prohibiting applicants who fail to provide proof-of-citizenship

             from voting in those elections, A.R.S. §16-127(A)(1). And Arizona's Legislature

             exercised its authority to regulate "who may vote" in all federal elections, ITCA, 570

             U.S. at 16, by prohibiting applicants who haven't provided proof-of-citizenship from

             voting early by mail, A.R.S. §16-127(A)(2), and empowering county recorders to

             verify a voter's citizenship through a federal database and periodically check

             available databases to cancel the registrations of ineligible non-citizens, id. §l6-

             165(A)(10),(G),(H),(1),(J),(K).

                    Before these amendments took effect, "Voting Law Opponents," including

             the Democratic National Committee and Bider Administration "sought to stop"

             Arizona's proof-of-citizenship laws "in their tracks." Dissent.81. They sued alleging



                                                        3
(9 of 27), Page 9 of 27    Case: 24-3188, 04/11/2025, DktEntry: 261 .1, Page 9 of 27




             violations of the Constitution, the National Voting Rights Act, the Civil Rights Act

             of 1964, and a consent decree. In an "unprecedented ruling," the district court gave

             them "virtually everything they wanted," enjoining Arizona's proof-of-citizenship

             laws "months before the 2024 election." Id. The Republican National Committee

             and Arizona's legislative leaders applied to this Court to stay the injunction. Id.

             While a partial stay was granted by a motions panel, a divided merits panel vacated

             the stay two weeks later. Dissent.81-82. The Supreme Court "quickly reversed the

             merits-panel majority," reinstating the stay and allowing Arizona's "proof-of-

             citizenship requirement to be enforced." Dissent.82.

              c.    The panel, over Judge Bumatay's dissent, affirms the injunction of
                    Arizona's proof-of-citizenship laws.

                    "[I]gnoring the Supreme Court's direction," the panel held that the district

             court's "unprecedented" ruling "dion 't go far enough in overturning Arizona's

             voter-verification laws." Id. It not only affirmed the injunction after concluding that

             Arizona's proof-of-citizenship laws violate the NVRA, the Civil Rights Act, the

             Equal Protection Clause, and a consent decree. Op.79. It also criticized a companion

             law prescribing database checks to identify ineligible voters ("H.B. 2243") as "the

             product of intentional discrimination" in keeping with Arizona's purported "history

             of discrimination against minorities" that it traces back to before Arizona was a

             State. Op.19-20, 69.




                                                       4
(10 of 27), Page 10 of 27   Case: 24-3188, 04/11/2025, DktEntry: 261.1, Page 10 of 27




                    As Judge Bumatay observed in dissent, the panel's opinion is

             "[u]nprecedented yet again." Dissent.82. It "contradict[s]" Supreme Court
             precedent, conflicts with a decision of "our own court" which previously "refus[ed]

             to enjoin Arizona's documentary proof-of-citizenship requirement," and it splits

             with "the Sixth Circuit." Dissent.88, 115, 129. "The majority's acontextual
                                                                                                  97
             interpretation" of federal law "creates an absurdity that Congress never established.

             Dissent.128. It would mean that "foreign citizens are immune from removal" from

             the voter rolls. Dissent.129. And it would "forc[e] States to accept foreign citizens

             in their voting booths." Dissent.128. Judge Bumatay would have "vacated and

             substantially narrowed the injunction." Dissent.82.

                                REASONS FOR GRANTING THE PETITION

                    The full Court should decide whether "forcing States to accept foreign citizens

             in their voting booths" is going to be the law of this Circuit. Dissent. 128. Rehearing

             en banc is appropriate because the panel's decision "conflicts with" decisions of the

             Supreme Court, decisions of this Court, and authoritative decisions of other Courts
                                                                                                  97
             of Appeals, and it "involves one or more questions of exceptional importance.

             F.R.A.P. 40(b)(2). Though one of these grounds is sufficient, all apply here.1




             1 The Republican Interveners join the portion of the State's petition arguing that the
             panel's interpretation of 52 U.S.C. § 10101(a)(2)(B) is important and conflicts with
             this Court's precedents.

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(11 of 27), Page 11 of 27   Case: 24-3188, 04/11/2025, DktEntry: 261.1, Page 11 of 27




               I.   The panel's holding that the NVRA preempts Arizona's mail voting
                    rules conflicts with Supreme Court and Ninth Circuit precedent.

                    The panel's interpretation of the NVRA conflicts with the Supreme Court's

             interpretation in ITCA. The NVRA establishes "a complex superstructure of federal

             regulation atop state voter-registration systems." ITCA, 570 U.S. at 5 (emphasis

             added). Since the NVRA is "about voter registration," it "doesn't conflict with state-

             specific rules for voting by mail in federal elections." Dissent. l()l.

                    This isn't "a narrow view." Op.37. It's the view the Supreme Court adopted

             to avoid the "serious constitutional doubts" that would arise if "a federal statute

             precluded a State from obtaining the information necessary to enforce its voter

             qualifications." ITCA, 570 U.S. at 17. "Prescribing voting qualifications" forms "no

             part of the power" of "the national government" under "the Elections Clause." Id.

             (cleaned up). Rather, Arizona alone has the "constitutional authority" to not only

             "establish qualifications (such as citizenship) for voting" but also "enforce" those

             qualifications by "obtaining the information necessary" to verify a voter's
             citizenship. Id. at 16-17. The panel's interpretation of the NVRA strips Arizona of

             the "power to enforce" its citizenship qualification by "preclude[ing]" Arizona from

             obtaining citizenship "information" before sending out mail ballots. Id. at 17.

                    In contrast to ITCA, where the NVRA provided "another means by which

             Arizona may obtain information needed for enforcement," id. at 18, there are no

             NVRA-authorized alternative means for Arizona to verify citizenship before sending


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(12 of 27), Page 12 of 27   Case: 24-3188, 04/11/2025, DktEntry: 261.1, Page 12 of 27




             out "early ballot[s] by mail," A.R.S. §16-127 (A)(2). Arizona can't "request" the

             "EAC alter" the arrangement as it could in ITCA. 570 U.S. at 19. So the panel's

             interpretation of the NVRA creates "constitutional doubt." Id.

                    The panel's interpretation has been rejected by both the Supreme Court, id.,

             and the Ninth Circuit, Gonzalez, 485 F.3d at 1050-51. This Court held that the

             "NVRA clearly conditions eligibility to vote on United States citizenship" and it

             "plainly allow[s] states, at least to some extent, to require their citizens to present

             evidence of citizenship." Id. The panel said that Gonzalez didn't decide "to what

             extent states may 'require their citizens to present evidence of citizenship when

             registering to vote."' Op.54. But Gonzalez forecloses the notion that answer is

             "nothing" And "nothing" is all States are allowed to do if the panel's opinion

             becomes the law of this Circuit. Indeed, the panel's boundless view of "the NVRA's
                                                                                                  97
             ability to preempt," Op.37, displaces "the whole field of mail-in voting rules,

             Dissent.103. It "create[s] a major upheaval" by "preclud[ing] States" from adopting

             "anti-fraud measures" to prevent non-citizen voting. Dissent.104. And it "mean[s]

             that all state limitations on absentee and mail voting would be preempted." Id. As

             the panel's opinion "cannot abrogate the plain import of ITCA and the even more

             specific reasoning in Gonzalez," MFV, 111 F.4th at 992 (Bumatay, J., dissenting),

             en bane review is warranted.




                                                       7
(13 of 27), Page 13 of 27   Case: 24-3188, 04/11/2025, DktEntry: 261.1, Page 13 of 27




               II. The panel's holding that the NVRA applies to presidential elections
                   conflicts with Supreme Court precedent.

                    The panel's holding that the NVRA preempts State voter registration
             requirements for presidential elections "contradict[s] ITCA." Dissent.88. The

             Supreme Court recognized that "the Elections Clause empowers Congress to

             regulate how federal elections are held, but not who may vote in them" and "[o]ne

             cannot read the Elections Clause as treating implicitly" what "other constitutional

             provisions regulate explicitly." ITCA,570 U.S. at 16. The Electors Clause empowers

             state legislatures to regulate the "Manner" of appointing presidential electors. U.S.

             Const., Art. II, §1. "Congress is empowered to determine the time of choosing the
                                                                                                   97
             electors and the day," "otherwise the power and jurisdiction of the state is exclusive.

             McPherson, 146 U.S. at 11. "Any shadow of a justification for congressional power

             with respect to congressional elections therefore disappears utterly in presidential

             elections." Oregon v. Mitchell, 400 U.S. 112, 212 (1970) (Harlan, J., concurring in

             part), see also ITCA, 570 U.S. at 16 & n.8 (citing Harlan's opinion approvingly and
             noting Harlan's opinion "underlies our analysis here."). Consequently, "the NVRA

             can't preempt state laws governing presidential elections" because the Constitution

             "forecloses congressional authority to control voter-registration requirements for

             presidential elections." Dissent.86-87.

                    The panel "invent[ed] a surprising new balance of power between the States

             and the federal government divorced from constitutional text" only by

                                                        8
(14 of 27), Page 14 of 27   Case: 24-3188, 04/11/2025, DktEntry: 261.1, Page 14 of 27




             "misread[ing]" the Supreme Court's decision in Burroughs v. United States.

             Dissent.98. The panel concluded that Burroughs supported the notion that "Congress

             has the power to control registration for presidential elections." Op.39.

                    But Burroughs merely "recognized the difference between regulating third

             parties involved in presidential elections and regulating the States' administration of

             presidential elections." Dissent.95. Burroughs concerned a campaign finance law

             that regulated third parties and "[n]either in purpose nor in effect" interfered with

             "the manner" in which "state" a chose "to appoint electors." 290 U.S. 534, 544

             (1934). Indeed, Burroughs reaffirmed "the power of a state to appoint electors" and

             determine "the manner in which their appointment shall be made." Id. When the

             Constitution uses the word "Manner," it "cannot be doubted" that this

             "comprehensive" word "embrace[s] authority to provide a complete code" for

             "elections" in relation to voter "registration." Smiley v. Holm, 285 U.S. 355, 366

             (1932) (interpreting "Manner" in Elections Clause). "'Manner' in the Electors

             Clause is broad." Dissent.93 "And it leaves States with the exclusive right to regulate

             voter registration for presidential elections." Id. Because the panel's opinion "alters

             the original public meaning of the Electors Clause" and undermines "the plenary

             authority of the States to decide the requirements for voting in presidential

             elections," id. at 99, it contradicts ITCA and justifies en banc review.




                                                       9
(15 of 27), Page 15 of 27   Case: 24-3188, 04/11/2025, DktEntry: 261.1, Page 15 of 27




               III. The panel's holding that the NVRA's 90-day provision applies to non-
                    citizens conflicts with Sixth Circuit precedent.

                    The panel's holding that the NVRA prohibits Arizona from canceling non-

             citizen registrations within 90 days before an election clashes with the Sixth Circuit's

             decision in Bell v. Marinko. The Sixth Circuit held that "[t]he National Voter

             Registration Act protects only 'eligible' voters from unauthorized removal" and does

             not apply to non-residents who are "improperly registered in the first place." Bell,

             367 F.3d at 592. As the court observed: "Were we to find" that "removal" of persons

             who "were improperly registered in the first place" violates the NVRA, "we would

             effectively grant, and then protect, the franchise of persons not eligible to vote." Id.

             Since non-citizens "are never 'eligible applicant[s]' having the right to be registered
                                                                                                   97
             to vote," the NVRA "in no way protects" them "from removal from the voter rolls .

             Dissent. 124-25 (citing Bell). Because the panel's "acontextual interpretation" of the

             NVRA "protects foreign citizens improperly registered from removal from the voter

             rolls," id. 124-25, 128, en bane review is needed.

                    Last election cycle, the Supreme Court issued a stay consistent with that

             understanding. Virginia applied for a stay of an order requiring Virginia to return

             certain non-citizens to the voter rolls because Virginia had removed them within 90

             days of an election. See Beals v. VA Coal. for Immigrant Rts., __ S.Ct. _, 2024 WL

             4608863 (Oct. 30, 2024). The Court granted the stay request. Id. En bane review is

             warranted to correct the panel's error on this important issue.


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(16 of 27), Page 16 of 27    Case: 24-3188, 04/11/2025, DktEntry: 261.1, Page 16 of 27




               IV. Neither the LULAC decree nor the NVRA precludes Arizona from
                   rej ecting state forms lacking proof-of-citizenship or proof-of-residence.

                    Section 16-121.01(C) of Arizona law provides that an individual who uses the

             state form will not be registered to vote in any federal or state election unless proof-

             of-citizenship accompanies the application. Prior to §16-121 .01(C)'s enactment,

             state forms missing proof-of-citizenship were processed under the LULAC Consent

             Decree, which required county recorders to register such applicants as "federal-

             only" voters if no proof-of-citizenship could be located on file for them. Op.22. The

             Supreme Court stayed the district court's injunction against §16-121.01(C)'s

             enforcement. RNC v. Mi Familiar Voter, 145 S. Ct. 108, 108 (2024). "[E]very maxim

             of prudence suggests that" a lower court should heed a Supreme Court stay. CASA

             de Md., Inc. v. Trump, 971 F.3d 220, 230 (4th Cir. 2020). Declining to "take[] the

             hint," Dissent.l06, the panel held that §l6-l2l.0l(C) must yield to the LULAC

             Decree, and that the NVRA prevents Arizona from requiring proof-of-citizenship

             (or proof-of-residence2) when using the state form to register to vote in federal

             elections, Op.52-53. Both determinations collide with Supreme Court precedents.

                    1.      State form registrations submitted after §16-121 .01 (C)'s effective date

             are governed by the statute, not the LULAC Decree. The panel invoked Taylor v.

             United States, 181 F.3d 1017 (9th Cir. 1999) (en bane), for the proposition that the




                    2 A.R.S. §§16-121.01(A), 16-123.

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(17 of 27), Page 17 of 27   Case: 24-3188, 04/11/2025, DktEntry: 261.1, Page 17 of 27




             Arizona Legislature may not "nullify a final judgment entered by an Article III

             court." Op.52. But the underlying judgment in Taylor "awarded no prospective

             equitable relief." 181 F.3d at 1025. Taylor merely affirmed that legislative bodies

             cannot "retroactively command[] the federal courts to reopen final judgments" after

             such judgments have been fully "executed." Id. at 1023, 1024. Importantly, Taylor

             eschewed the question of whether a statute could abrogate "consent decrees that do

             put injunctions in place to govern [defendants] prospectively." Id. at 1018. The

             Supreme Court has since answered it, explaining that when a legislative body

             "changes the law underlying a judgment awarding prospective relief, that relief is no

             longer enforceable to the extent it is inconsistent with the new law." Miller v. French,

             530 U.S. 327, 347 (2000) (analyzing the same statute as Taylor).

                    This bifurcation makes sense. Federal court injunctions that purport to "bind

             state and local officials to the policy preferences of their predecessors" corrode

             norms of federalism and democratic accountability. Horne v. Flores, 557 U.S. 433,

             449 (2009). That is particularly so here, the Arizona Legislature was not a party to

             the LULAC proceedings, never ratified the consent decree, and, as a non-party,

             cannot (and need not) seek its modification under F.R.C.P. 60(b). Martin v. Wilks,

             490 U.S. 755, 763 (1989) (non-party can collaterally attack consent decree). The

             panel accordingly erred in holding that the LULAC Decree can perpetually and

             preemptively constrain the Arizona Legislature in regulating voter registration.



                                                       12
(18 of 27), Page 18 of 27   Case: 24-3188, 04/11/2025, DktEntry: 261.1, Page 18 of 27




                    2.      Proof-of-citizenship and proof-of-residence verify substantive voting

             qualifications: citizenship and residency. The NVRA hence permits Arizona to reject

             state-form submissions that lack either element. The NVRA requires states to

             "accept and use" the federal form, but also authorizes them to create their own form

             to register voters in federal elections. 52 U.S.C. §20505(a)(1)-(2). State forms may

             mandate any identifying information "necessary to enable the appropriate State

             election official to assess the eligibility of the applicant and to administer voter

             registration and other parts of the election process." Id. §20508(b)(1).

                    The panel deemed the proof-of-citizenship and proof-of-residence

             requirements inconsistent with the NVRA because they are not "essential," noting

             that the state form has other mechanisms namely, a citizenship checkbox and

             sworn attestations to ascertain eligibility. Op.41, 53. But the panel's novel

             adoption of an "essentiality" rubric and de facto narrow-tailoring criterion are

             untethered from the statutory text and dissonant with the case law. This Court

             previously recognized that the NVRA "allows states, at least to some extent, to
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             require their citizens to present evidence of citizenship when registering to vote.

             Gonzalez, 485 F.3d at 1050-51. The Supreme Court agreed, citing proof-of-

             citizenship as an example of how "state-developed forms may require information

             the Federal Form does not." ITCA, 570 U.S. at 12. Because proof-of-citizenship and

             proof-of-residence corroborate voting qualifications, those requirements comply



                                                      13
(19 of 27), Page 19 of 27   Case: 24-3188, 04/11/2025, DktEntry: 261.1, Page 19 of 27




             with the NVRA. That the Supreme Court sided with Petitioners on this issue, RNC,

             145 S. Ct. at 108, and the panel ignored that ruling, Dissent.106, is reason enough

             for en banc review.

                    A corollary is that Arizona may distribute the state form in public-assistance

             agencies under NVRA Section 7 because it is "equivalent" to the federal form. 52

             U.S.C. §20506(a)(6)(A)(ii). Although the federal form and the state form are

             promulgated by different government actors, Section 9 demarcates the outer

             parameters of both forms' content. See id. §§20508(a)-(b), 2()505(a)(2), ITCA, 570

             U.S. at 12 (Section 9 allows states "to create their own, state-specific voter-

             registration forms," while the federal form "provides a backstop"). It would be "odd

             if Congress gave States the flexibility to create their own form [in Sections 6 and 9]

             but then took away all that freedom through the 'public assistance agencies'

             provision" in Section 7. Dissent.118. A Section 9-compliant state form is thus

             "equivalent" to the federal form under Section 7. Id.

               v.   The panel violated Supreme Court precedent by reweighing evidence to
                    find discriminatory intent.
                    The district court's finding that the Legislature was not motivated by national

             origin animus when it enacted H.B. 2243 was "plausible in light of the entire record."

             Brnovieh,594 U.S. at 687. While casting its vacate as disagreement with the district




                                                      14
(20 of 27), Page 20 of 27   Case: 24-3188, 04/11/2025, DktEntry: 261 .1, Page 20 of 27




             court's application of an ostensibly "heightened version of the Arlington Heights[3]

             analysis to the facts," Op.64, the panel's reasoning impermissibly reweighed the

             evidence. The district court properly applied the four key Arlington Heights factors.

             And it examined all the circumstantial evidence cited by the panel, "it just found it

             unconvincing." Dissent.151.

                    1.      Historical Background. The district court was correct that Plaintiffs

             must establish a "nexus" between historical discrimination and an enacted law. 1-

             ER-0043. "Past discrimination cannot, in the manner of original sin, condemn

             governmental action that is not itself unlawful," and thus Plaintiffs must

             affirmatively "prove[]" that this historical animus imbues current legislation. Abbott

             V. Perez, 585 U.S. 579, 603 (2018) (cleaned up), United States v. Carrillo-Lopez, 68

             F.4th 1133, 1141 (9th Cir. 2023) (government need not "show that a subsequent

             legislature 'somehow purged the taint"').

                    The district court considered circumstantial historical evidence namely, past

             voting-related discrimination and historical experts' testimony but found it

             lacking. It correctly recognized that discriminatory laws enacted decades ago are

             poor proxies for contemporary motivations. Carrillo-Lopez, 68 F.4th at 1151. And

             the district court discounted Plaintiffs' experts' opinions not because it adopted a

             stringent standard of proof, but because it deemed them not credible. It found one


                    3 Arlington Heights v. Metro. Housing Dev. Corp., 429 U.S. 252 (1977).

                                                       15
(21 of 27), Page 21 of 27   Case: 24-3188, 04/11/2025, DktEntry: 261.1, Page 21 of 27




             expert's analysis "incomplete or misleading," l-ER-0038, and "question[ed] the

             reliability of' the other expert's "testimony regarding Arizona history" and current

             election laws, 1-ER-0037. The panel did not identify clear error in these
             determinations. Earp v. Davis, 881 F.3d 1135, 1145 (9th Cir. 2018) (appellate court

             "cannot substitute" witness credibility judgments (cleaned up)), Pierce v. N. C. State

             8d. of Elections, 97 F.4th 194, 221 (4th Cir. 2024) ("it is emphatically not our duty

             'to duplicate the role of the lower court" (cleaned up)).

                    2.      Legislative History. The district court reasonably concluded that

             Arizona's "political climate" and "the Free Enterprise Club's involvement" in

             lobbying for the challenged laws, Op.71, were not persuasive evidence of

             discriminatory intent. The panel emphasizes that the Legislature's stated concerns

             regarding fraud and non-citizen voting were factually unsound. But there is no

             record evidence to sustain the untenable inferential leap that the Legislature must

             therefore have been propelled by racial or national-origin prejudices. See Brnovich,

             594 U.S. at 689 ("partisan motives are not the same as racial motives," neither are

             "'sincere, though mistaken" perceptions of fraud). And "[t]he Arizona Legislature

             was not obligated to wait" for wrongdoing to occur before enacting prophylactic

             legislation. Id. at 686.

                    Even crediting the dubious assumption that Free Enterprise Club's isolated

             use of the word "illegal" manifested community animus, the district court reasonably



                                                      16
(22 of 27), Page 22 of 27   Case: 24-3188, 04/11/2025, DktEntry: 261 .1, Page 22 of 27




             declined to impute it to the Legislature as a whole. "[T]he legislators who vote to

             adopt a bill are not the agents of the bill's sponsor or proponents." Brnovich, 594

             U.S. at 689, United States v. Sanchez-Garcia, 98 F.4th 90, 101-02 (4th Cir. 2024)

             ("disturbing" remarks "by a handful of members               are not 'evidence that the

             legislature as a whole was imbued with racial motives"'). If a fellow legislator is not

             the "cat's paw" of the body, then an outside private organization certainly cannot

             personify a legislature's intentions. And the single "illegals" reference

             notwithstanding, none of the numerous disclosed communications between the Club

             and legislators evoked any racial or ethnic valence whatsoever. PromiseSER-947-

             976.

                    3.      Legislative Process. The district court did not clearly err in finding that

             H.B. 2243 traversed normal legislative channels. The panel emphasizes the "abrupt

             passage of the] bill," Op.72 but "the brevity of the legislative process" does not

             "give rise to an inference of bad faith," Abbott, 585 U.S. at 610. Further, the panel's

             characterization of certain facts is at odds with the full record. According to the

             panel, so-called "strike-everything amendments" (the vehicle used to adopt H.B.

             2243) late in the legislative session "are not a common occurrence." Op.72. But then-

             Speaker Toma testified that strikers "happen all the time" throughout the legislative

             session and are "not unique by any stretch." 2-PromiseER-217. Speaker Toma also

             cited a previously vetoed bill regarding ballot images that was revived in a late-


                                                         17
(23 of 27), Page 23 of 27   Case: 24-3188, 04/11/2025, DktEntry: 261 .1, Page 23 of 27




             session striker. Id. Although the striker did not pass, it underscores that strikers are

             not a procedural aberration. More to the point, that the panel may "have weighed the

             evidence differently in the first instance," Brnovich, 594 U.S. at 687, does not

             establish clear error below.

                    4.      Disparate Impact. The dissent correctly notes (at 154) that the district

             court's explication of Arlington Heights' disparate-impact facet "essentially

             paraphras[es]" this Court's precedents. And the panel's criticisms obscure that

             Plaintiffs presented no credible evidence that H.B. 2243 which requires periodic

             checks on an array of databases to identify potential non-citizen and non-resident

             voters disproportionately affects naturalized citizens or any minority group. The

             relevant databases contain records on both natural-born and naturalized citizens

             alike. Of the approximately 19,439 federal-only voters (i.e., the subset of registered

             voters who lack proof-of-citizenship on file), only 65 are susceptible to being

             flagged during routine MVD database checks. 1-ER-0100. More generally, just

             0.33% of white voters and approximately 0.67% of minority voters have federal-

             only status. 1-ER-0092, Brnovieh, 594 U.S. at 651 (no disparate impact when 98%

             of "minority and non-minority [voters] alike" were unaffected). And unrebutted

             defense evidence indicated that, using Arizona's total population as the benchmark,

             the predicted demographic composition of federal-only voters is approximately

             proportionate to minority groups' representation in the population, and white


                                                        18
(24 of 27), Page 24 of 27   Case: 24-3188, 04/11/2025, DktEntry: 261 .1, Page 24 of 27




             individuals comprise a numerical maj rarity of federal-only voters. See FER-172-177,

             182-184. On this record, the district court's finding that "any disparate impact     is

             markedly small," 1-ER-0092, was not clearly erroneous.

                                                      * * *

                    The district court properly distilled and applied the Arlington Heights factors,

             carefully weighing all admitted evidence, both direct and circumstantial. The panel' S

             reasoning vitiated "the strong 'presumption of good faith' on the part of legislators,"

             Carrillo-Lopez, 68 F.4th at 1140, and reweighed the evidence in derogation of the

             district court's fact-finding prerogative, see Brnovieh, 594 U.S. at 687.

                                                CONCLUSION

                    The Court should grant the petition.




                                                       19
(25 of 27), Page 25 of 27   Case: 24-3188, 04/11/2025, DktEntry: 261 .1, Page 25 of 27




              Dated: April 11, 2025                          Respectfully submitted,

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                                                       20
(26 of 27), Page 26 of 27   Case: 24-3188, 04/11/2025, DktEntry: 261 .1, Page 26 of 27




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(27 of 27), Page 27 of 27   Case: 24-3188, 04/11/2025, DktEntry: 261 .1, Page 27 of 27




                                        CERTIFICATE OF SERVICE

                    I certify that I electronically filed the foregoing petition on April II, 2025,

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             Dated: April 11, 2025            /s/ Thomas Basile




                                                      C-2
